Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.58 Page 1 of 32




                           EXHIBIT A
  Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.59 Page 2 of 32



 1 Lincoln D. Bandlow, Esq. (CA #170449)
   lincoln@bandlowlaw.com
 2 Law Offices of Lincoln Bandlow, P.C.
   1801 Century Park East, Suite 2400
 3
   Los Angeles, CA 90067
 4 Phone: (310) 556-9680
   Fax: (310) 861-5550
 5
   Attorney for Plaintiff
 6 Strike 3 Holdings, LLC

 7

 8

 9                           UNITED STATES DISTRICT COURT
10                        SOUTHERN DISTRICT OF CALIFORNIA
11
     STRIKE 3 HOLDINGS, LLC,                          Case Number: 3:20-cv-02314-GPC-KSC
12
                        Plaintiff,                    DECLARATION OF DAVID
13                                                    WILLIAMSON IN SUPPORT OF
     vs.                                              PLAINTIFF’S EX-PARTE APPLICATION
14                                                    FOR LEAVE TO SERVE A THIRD-
   JOHN DOE subscriber assigned IP address            PARTY SUBPOENA PRIOR TO A RULE
15 104.6.138.154,                                     26(f) CONFERENCE
16                      Defendant.
17

18

19

20
                            [Remainder of page intentionally left blank]
21

22

23

24

25

26

27
                                                  i
28
              Declaration of David Williamson in Support of Plaintiff’s Ex-Parte Application
                       for Leave to Serve Subpoena Prior to a Rule 26(f) Conference
                                                                      Case No. 3:20-cv-02314-GPC-KSC
                                              EXHIBIT A
DocuSign Envelope ID: 00C0C49B-EB55-4230-954F-56CA532EA6F6
           Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.60 Page 3 of 32



                       DECLARATION OF DAVID WILLIAMSON IN SUPPORT OF PLAINTIFF’S
          1
                      MOTION FOR LEAVE TO TAKE DISCOVERY PRIOR TO A RULE 26(f)
          2                                CONFERENCE

          3           1.      My name is David Williamson.

          4           2.      I am over the age of 18 and competent to make this declaration. The facts stated

          5 in this declaration are based upon my personal knowledge and, if called and sworn as a witness,

          6 I can and competently will testify to all matters contained herein.

          7                                                  Education and Career

          8           3.      Between 1983 to 1986, I attended Bispham Technical College located in

          9 Bispham, Blackpool, United Kingdom, where I studied computer science.

        10            4.      Since completing my studies at Bispham Technical College, I have acquired over

        11 34 years of experience in the Information Technology industry.

        12            5.      My experience ranges from working as a service engineer, a hardware engineer,

        13 a developer, a team leader, an IT consultant, an eInfrastructure manager, an Internet consultant,

        14 Infrastructure Practice Manager, a Security & Networking Specialty Manager, and a Software

        15 Consulting Practice Manager.             I was also a UK board member for Sun Microsystems

        16 Professional Services Division.

        17            6.      I have worked in many industries, which significantly include the UK

        18 Department of Defense (British Aerospace), Sun Microsystems, and AXA Insurance.

        19            7.      As a result of my experience, I have significant technology skills that cross the

        20 Microsoft & Unix / Linux platforms. These skills are primarily in the areas of software

        21 development, security, and networking.

        22            8.      I am highly competent in networking technologies and information security, and

        23 adept at programming in various languages including Java, Javascript, PHP, C, and Assembler.

        24            9.      I also possess significant skills in Databases, Cloud Computing, and other Web

        25 technologies.

        26            10.     I am currently self employed as an Information Systems and Management

        27 Consultant. In this role, I work with clients to help them tackle the challenges involved with

        28                                                         1

              Declaration of David Williamson in Support of Plaintiff’s Motion for Leave to Serve Subpoena Prior to a
                                                     Rule 26(f) Conference
DocuSign Envelope ID: 00C0C49B-EB55-4230-954F-56CA532EA6F6
           Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.61 Page 4 of 32



          1 scaling their Information Technology Applications.              The process involves using Agile
          2 methodologies to help companies design and re-factor their applications to use the latest

          3 technology.

          4                                       Strike 3 Holdings, LLC Background
          5           11.     As an Information Systems and Management Consultant, I am employed as an
          6 independent contractor by Strike 3 Holdings (“Strike 3” or “Plaintiff”), a Delaware limited

          7 liability company located at 2140 S. Dupont Hwy, Camden, DE.

          8           12.     I have been working with Strike 3 since its inception. I undertake the role of
          9 Chief Technology Officer (CTO). Because of the nature of my role with the company, I am

        10 generally familiar with all aspects of the company, and with full knowledge of its Information

        11 Technology Systems.

        12            13.     Strike 3 owns the intellectual property to the Blacked, Blacked Raw, Tushy, and
        13 Vixen adult brands, including the copyrights to each of the motion pictures distributed through

        14 Blacked, Blacked Raw, Tushy and Vixen and the trademarks to each of the brand names and

        15 logos. Strike 3 is owned entirely by General Media Systems, LLC and has existed since 2015.

        16 I also undertake the role of Vice President of Technology for General Media Systems, LLC.

        17            14.     Our company has approximately 15 million visitors to our websites per month
        18 and a loyal following.

        19            15.     Our company’s philosophies are important.
        20            16.     We always strive to pay artists and models an amount above that being paid by
        21 other companies. Indeed, we are known for paying our performers the highest rates ever

        22 recorded in the industry. Empowering the artists -- and especially the women we work with --

        23 is at the core of our company’s philosophy.

        24            17.     We focus on delivering to our subscribers and fans superior quality adult films
        25 and a wonderful customer experience available for a monthly subscription at a fair price. When

        26 Strike 3 first began offering this service, conventional wisdom held that it was destined to fail;
        27 that people would refuse to pay extra to support the production of high quality adult content

        28                                                      2

              Declaration of David Williamson in Support of Plaintiff’s Motion for Leave to Serve Subpoena Prior to a
                                                     Rule 26(f) Conference
DocuSign Envelope ID: 00C0C49B-EB55-4230-954F-56CA532EA6F6
           Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.62 Page 5 of 32



          1 they enjoy when lesser quality films are available for free. Now, we have a substantial and loyal

          2 customer base that recognize the value of paying a fair price to support the artists that provide

          3 the works they enjoy.

          4           18.      We provide jobs for nearly 100 people worldwide. We provide good benefits
          5 including health care coverage and have an extremely positive company culture.                      Our
          6 employees include producers, production managers, video editors, marketing specialists,

          7 accountants, stylists, content managers, and a full team of highly skilled software developers,

          8 system administrators, and a quality assurance department.
          9           19.      Our movies are known for having some of the highest production budgets of any
        10 in the industry. We invest in and utilize state of the art cinematic equipment. We film using

        11 Hollywood industry standards. And, as our subscriber base grows, we always seek to find ways

        12 to invest in value for our customers.

        13            20.      Because of this, we have a subscriber base that is one of the largest of any adult
        14 site in the world.

        15            21.      We are also currently the number one seller of adult DVDs in the United States.
        16            22.      Our content is licensed throughout the world, which includes most major cable
        17 networks.

        18            23.      Our success has not gone unnoticed. Indeed, we are very proud that our unique
        19 cinematic films have won many awards. Some of them include:

        20                  a. Best New Studio (XBIZ, 2017)
        21                  b. Studio of the Year (XBIZ, 2018)
        22                  c. Best Cinematography (AVN, 2016)
        23                  d. Director of the Year (AVN, 2016-2018 ; XBIZ, 2017-2018)
        24                  e. Best Director – (XRCO, 2016-2017)
        25                  f. Best Membership Website (AVN, 2016-2017)
        26                  g. Adult Site of the Year – (XBIZ, 2015-2017)
        27                  h. Best marketing campaign – company image (AVN, 2016-2017)
        28                                                       3

              Declaration of David Williamson in Support of Plaintiff’s Motion for Leave to Serve Subpoena Prior to a
                                                     Rule 26(f) Conference
DocuSign Envelope ID: 00C0C49B-EB55-4230-954F-56CA532EA6F6
           Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.63 Page 6 of 32



          1                 i. Marketing Campaign of the Year (XBIZ, 2018)
          2                 j. Greg Lansky - Lifetime Achievement Award (Nightmoves)
          3                 k. Vignette Series of the Year (XBIZ, 2018)
          4           24.       We also are routinely featured in mainstream media. Forbes, 1 The Daily Beast, 2
          5 CBC Radio,3 Rolling Stone,4 AdAge,5 and Jezebel6 have all published substantial profiles on us.

          6           25.      We are proud of our impact on the industry. We have raised the bar in the
          7 industry - leading more adult studios to invest in better content and higher pay for performers.

          8 That is a testament to the entire team, the company we have built, and the movies we create.
          9           26.      Unfortunately, piracy is a major threat to our company. We can compete in the
        10 industry, but we cannot compete when our content is stolen.

        11            27.      We have discovered that when we put videos online for paid members to view, it
        12 is often less than a day before our movies are illegally available to be downloaded on torrent

        13 websites. We have attempted to identify the initial seeders of the pirated content. However,

        14 due to our significant customer base, it is virtually impossible to 100% identify the actual

        15 individual who initially distributes our content via the torrent network. We do regularly scan

        16 our records for people who appear to be abusing our service, and take action to prevent further

        17 abuse.

        18

        19

        20
                        1 “How One Pornographer is Trying to Elevate Porn to Art,” Forbes, July 20, 2017
              https://www.forbes.com/sites/susannahbreslin/2017/07/20/pornographer-greg-lansky-interview/#2301d3ae6593
        21
                        2 “Meet the Man Making Porn Great Again,” The Daily Beast, February 18, 2017

        22    http://www.thedailybeast.com/meet-the-man-making-porn-great-again
                        3 “Porn-o-nomics: How one director is making a fortune by defying conventional wisdom,” CBC Radio,
        23    February 24, 2017 http://www.cbc.ca/radio/day6/episode-326-sanctuary-cities-la-la-land-vs-jazz-hollywood-in-
              china-porn-o-nomics-and-more-1.3994160/porn-o-nomics-how-one-director-is-making-a-fortune-by-defying-
        24    conventional-wisdom-1.3994167
                        4 “Versace, Champagne and Gold: Meet the Director Turning Porn Into High Art.” RollingStone, April
        25    15, 2018 https://www.rollingstone.com/culture/culture-features/versace-champagne-and-gold-meet-the-director-
              turning-porn-into-high-art-629908/
        26              5 “Kanye West’s Favorite Pornographer is a Master of SFW Marketing,” AdAge, August 17, 2018
              https://adage.com/article/cmo-strategy/sfw-pornographer/314604
        27              6 “The One Percent Fantasies of Greg Lansky’s Vixen” Jezebel, January 9, 2019
              https://jezebel.com/jerking-off-to-capitalism-the-1-percent-fantasies-of-g-1829976586
        28                                                          4

              Declaration of David Williamson in Support of Plaintiff’s Motion for Leave to Serve Subpoena Prior to a
                                                     Rule 26(f) Conference
DocuSign Envelope ID: 00C0C49B-EB55-4230-954F-56CA532EA6F6
           Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.64 Page 7 of 32



          1           28.     The issue of pirated content is a significant one; the Global Innovation Policy
          2 Center released a report7 in June 2019, and found that digital video piracy conservatively causes

          3 lost domestic revenues of at least $29.2 billion and as much as $71.0 billion. It also found that

          4 it results in losses to the U.S. economy of between 230,000 and 560,000 jobs and between $47.5

          5 billion and $115.3 billion in reduced gross domestic product (GDP) each year. We certainly

          6 feel this pain, as do our paying customers, who are cheated out of access to even more films that

          7 our company does not have the resources to make when pirates freeload off the system instead

          8 of contributing their fair share to pay for the works they enjoy.
          9           29.     We put a tremendous amount of time, effort and creative energy into producing
        10 and distributing valuable content for our paid customers. It crushes us to see it being made

        11 available for free in just minutes.

        12            30.     Our movies are typically among the most pirated television shows and movies on
        13 major torrent websites.

        14            31.     We send on average 50,000 Digital Millennium Copyright Act notices a month
        15 but it does virtually nothing to stop the rampant copyright infringement.

        16            32.     The most, if not the only, effective way to stop the piracy of our movies on
        17 BitTorrent networks is to file lawsuits like this one.

        18            33.     We are mindful of the nature of the works at issue in this litigation. Our goal is
        19 not to embarrass anyone or force anyone to settle unwillingly, especially anyone that is

        20 innocent. We are proud of the films we make. We do not want anyone to be humiliated by

        21 them.

        22            34.     Because of this, our company and our legal team strives to only file strong cases
        23 against extreme infringers. Each lawsuit seeks to stop only those infringers who engage not

        24 only in illegal downloading, but also in large scale unauthorized distribution of our content.

        25

        26
        27              7 “IMPACTS OF DIGITAL VIDEO PIRACY ON THE U.S. ECONOMY” https://www.theglobalipcenter.com/wp-
              content/uploads/2019/06/Digital-Video-Piracy.pdf
        28                                                       5

              Declaration of David Williamson in Support of Plaintiff’s Motion for Leave to Serve Subpoena Prior to a
                                                     Rule 26(f) Conference
DocuSign Envelope ID: 00C0C49B-EB55-4230-954F-56CA532EA6F6
           Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.65 Page 8 of 32



          1           35.     We also do not seek settlements unless initiated by the defendant or their
          2 counsel. We do not send demand letters.

          3           36.     We are careful not to proceed with a case against a defendant unless we feel we
          4 have a strong case and a good faith basis for doing so. We will not pursue defendants that

          5 provide substantiated exculpatory evidence. Nor will we pursue defendants that have proven

          6 hardships. Our clear objective is to be mindful and reasonable with each case.

          7           37.     We are a respected entertainment company that makes nearly all of its revenue
          8 from sales of subscriptions, DVDs, and licenses. Our goal is to deter piracy and redirect the
          9 infringement back into legitimate sales. Proceeds we receive from settlements go back into

        10 making our company whole.

        11            38.     We believe a consumer’s choice of what content to enjoy, whether it be adult
        12 entertainment or otherwise, is a personal one to that consumer. Therefore, it is our policy to

        13 keep confidential the identity of not only our subscribers, but even those we are pursuing for

        14 copyright infringement. We typically only reveal a defendant’s identity if the defendant does

        15 not contact Strike 3 to participate in the request to the Court to permit them to proceed

        16 anonymously, or if the Court in a particular action does not allow a defendant to proceed

        17 anonymously.

        18            39.     Our copyrights are the foundation of our livelihood. Our copyrights enable us to
        19 open our office doors each day, pay employees, make a difference in our community, and create

        20 motion pictures that raise the industry standard. We have to protect them.

        21                                Strike 3 Holdings, LLC’s Infringement Detection System
        22            40.     I oversaw the design, development, and overall creation of the infringement
        23 detection system called VXN Scan (“VXN”) which Strike 3 both owns and uses to identify the

        24 IP addresses used by individuals infringing Plaintiff’s movies via the BitTorrent protocol.

        25            41.     It took approximately six months to develop VXN.
        26            42.     As explained below, VXN has several components and processes.
        27

        28                                                      6

              Declaration of David Williamson in Support of Plaintiff’s Motion for Leave to Serve Subpoena Prior to a
                                                     Rule 26(f) Conference
DocuSign Envelope ID: 00C0C49B-EB55-4230-954F-56CA532EA6F6
           Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.66 Page 9 of 32



          1                                              The Torrent Collector/Scrapper
          2            43.      The first component of VXN is the Torrent Collector.
          3            44.      Torrent websites host .torrent files or list magnet links referring to .torrent files,
          4 which contain torrent metadata. In order to download content through BitTorrent, a user will

          5 first download a BitTorrent client (i.e., software that enables the BitTorrent protocol work), and

          6 then will search for and acquire .torrent files from torrent websites. The BitTorrent client reads

          7 the .torrent file’s metadata, specifically its “Info Hash,”8 and uses that information to download

          8 pieces of the desired computer file that correlate to the .torrent file previously acquired.
          9            45.      The Torrent Collector is software that conducts lexical searches of Plaintiff’s
        10 titles within well-known torrent websites.

        11             46.      The Torrent Collector is serviced at Amazon Elastic Compute Cloud (“Amazon
        12 EC2”). Amazon EC2 is a web service that provides secure, resizable compute capacity in the

        13 cloud.9

        14                                                         The Downloader
        15             47.      The second component of VXN is a software called Downloader. After the
        16 Torrent Collector’s lexical search yields a match (i.e., it has located a .torrent file which

        17 establishes that the correlating targeted computer file contains the title of one of Plaintiff’s

        18 works), the Downloader subsequently downloads the .torrent file and a full copy of the targeted

        19 computer file from the whole BitTorrent swarm. To be clear, the Downloader does not obtain a

        20 full copy from a single infringer.

        21             48.      The targeted computer file is downloaded for human audiovisual verification
        22 purposes only. Indeed, downloading the entire targeted computer file is necessary so that Strike

        23 3 can confirm that the targeted computer file, related to a specific .torrent file, is in fact an

        24

        25         8 The “Info Hash” is the data that the BitTorrent protocol uses to identify and locate the other pieces of the
              desired file across the BitTorrent network. To be clear, the “Info Hash” is not the hash value of the complete file
        26    nor its correlating .torrent file. Instead, it is a unique identifier contained in the metadata of the .torrent file that
              provides a “map” so that those pieces can be collected and re-assembled into a complete file (i.e., a playable
        27    movie) by a BitTorrent client.
                       9 See https://aws.amazon.com/ec2/
        28                                                               7

              Declaration of David Williamson in Support of Plaintiff’s Motion for Leave to Serve Subpoena Prior to a
                                                     Rule 26(f) Conference
DocuSign Envelope ID: 00C0C49B-EB55-4230-954F-56CA532EA6F6
          Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.67 Page 10 of 32



          1 infringing copy of a copyrighted work it owns.

          2           49.     It is impossible for the Downloader to re-distribute or upload any of the retrieved
          3 data, since, as written, the program does not contain such a function. To be clear, the

          4 downloader will never upload data to other computer systems in the BitTorrent network.

          5           50.     The Downloader then stores the .torrent file and a full copy of the targeted
          6 computer file directly onto a cloud platform account provided by Amazon Web Services

          7 (“AWS”).

          8           51.     The Downloader is also serviced at Amazon EC2.
          9                                                  The Proprietary Client
        10            52.     The third component of VXN is a proprietary BitTorrent client (“Proprietary
        11 Client”).

        12            53.     After the Downloader downloads the .torrent file and targeted computer file as
        13 described above, the Proprietary Client connects to peers within the swarm associated with that

        14 infringing computer file.         The Proprietary Client connects to these peers using a TCP/IP
        15 connection. This connection cannot be spoofed.

        16            54.     Once the connection is established, the Proprietary Client begins the process of
        17 downloading a piece or multiple pieces of the infringing computer file from other computers

        18 connected to the Internet through IP addresses, which are offering pieces of the infringing

        19 computer file for download (i.e., “peers” in the BitTorrent “swarm”). The Proprietary Client

        20 accomplishes this by using the Info Hash value in the metadata of the .torrent file, which has

        21 already been confirmed to correlate with a digital media file that infringes upon one of Strike

        22 3’s copyrighted works. The BitTorrent protocol ensures that, because the Proprietary Client

        23 requests file pieces based on this specific Info Hash value, it only receives pieces of the related

        24 digital media file. In short, it repeatedly downloads data pieces from peers within the BitTorrent

        25 network which are distributing Plaintiff’s movies.

        26            55.     In this way, the Proprietary Client emulates the behavior of a standard BitTorrent
        27 client. However, there are two ways in which the Proprietary Client differs from a standard

        28                                                          8

              Declaration of David Williamson in Support of Plaintiff’s Motion for Leave to Serve Subpoena Prior to a
                                                     Rule 26(f) Conference
DocuSign Envelope ID: 00C0C49B-EB55-4230-954F-56CA532EA6F6
          Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.68 Page 11 of 32



          1 BitTorrent client.        The first is that the Proprietary Client is incapable of distributing the
          2 infringing computer files. Thus, it is only able to download data from peers in a swarm and is

          3 unable to upload any data to the peers in a swarm. The second exception is that the Proprietary

          4 Client is disabled from storing any of the content obtained from the transaction and the

          5 Proprietary Client does not itself record evidence of infringement.

          6           56.      The Proprietary Client operates on an independent physical server which is
          7 located in a professional data center in Florida.

          8
          9                                           PCAP Recorder / Capture Card
        10            57.      The fourth component of VXN is the PCAP Recorder, which uses a physical
        11 PCAP Capture Card.

        12            58.      Data sent through the Internet is delivered in the form of “packets” of
        13 information. PCAP stands for “Packet Capture.” A PCAP is a computer file containing

        14 captured or recorded data transmitted between network devices.

        15            59.      In this case, Plaintiff sought to record numerous infringing BitTorrent computer
        16 transactions in the form of PCAPs. The PCAPs evidence particular IP addresses connecting to

        17 the Proprietary Client and sending pieces of a computer file (which contains an infringing copy

        18 of Plaintiff’s works) to the Proprietary Client.

        19            60.      Strike 3’s need to record and secure PCAPs is logical since PCAPs contain
        20 specific BitTorrent transaction details of evidentiary value.

        21            61.      Indeed, a PCAP contains the Internet Protocol (IP) Addresses used in the
        22 network transaction, the date and time of the network transaction, the port number 10 used to

        23 accomplish each network transaction, and the BitTorrent client used to accomplish the network

        24 transaction. All of the above can be useful in identifying an infringer.

        25            62.      A PCAP also identifies the Info Hash value that was used to obtain the transacted
        26
        27             10 A port is a communication endpoint. Ports are identified for each protocol and address combination
              by the port number.
        28                                                           9

              Declaration of David Williamson in Support of Plaintiff’s Motion for Leave to Serve Subpoena Prior to a
                                                     Rule 26(f) Conference
DocuSign Envelope ID: 00C0C49B-EB55-4230-954F-56CA532EA6F6
          Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.69 Page 12 of 32



          1 piece. This information identifies the data that was shared in the recorded transaction as a

          2 constituent part of a specific digital media file, which, as described above, has been confirmed

          3 to be a file that infringes upon one of Strike 3’s copyrighted works.

          4           63.      In order to record the PCAPs in real-time for all BitTorrent transactions which
          5 the Proprietary Client is involved in, VXN uses a Capture Card called Link™ NT40A01

          6 SmartNIC.         This is a network capture card that was developed and manufactured by
          7 Napatech™.

          8           64.      Napatech is the leading provider of reconfigurable computing platforms. 11 It
          9 develops and markets the world’s most advanced programmable network adapters for network

        10 traffic analysis and application off-loading.12                 Napatech’s “family of SmartNICs enables
        11 government and military personnel to capture all the data running through their networks[.]”13

        12            65.      Within VXN, the Capture Card is connected to the Proprietary Client’s network
        13 connection via a passive network tap. A passive network tap allows the Capture Card to record

        14 perfect copies of all traffic without actively interacting with any other components within the

        15 network (i.e., the Proprietary Client). In this manner, the Capture Card retrieves an identical

        16 copy of each and every single network packet which is sent 14 and received by the Proprietary

        17 Client.

        18            66.      The PCAP Recorder receives that data from the Capture Card and streams the
        19 PCAP files directly onto a cloud platform account provided by AWS. More specifically, the

        20 cloud platform is known as Amazon Simple Storage Service (“Amazon S3”). Within this

        21 Amazon S3 account, Plaintiff has enabled the object lock “legal hold” feature. This feature

        22 “prevents an object version from being overwritten or deleted […] [which] remains in effect

        23

        24
                      11 See https://marketing.napatech.com/acton/attachment/14951/f-cce2aadf-5242-49dd-b515-
        25
              31bd48077066/1/-/-/-/-/Fort%20Huachuca%20Press%20Release.pdf
                      12 See http://www.networkallies.com/partners/napatech
        26
                      13 See https://finance.yahoo.com/news/napatechs-family-smartnics-helps-state-130700070.html
        27            14 The Proprietary Client does not send any data to BitTorrent peers. But even if it did, the Capture Card
              would record such transactions.
        28                                                            10

              Declaration of David Williamson in Support of Plaintiff’s Motion for Leave to Serve Subpoena Prior to a
                                                     Rule 26(f) Conference
DocuSign Envelope ID: 00C0C49B-EB55-4230-954F-56CA532EA6F6
          Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.70 Page 13 of 32



          1 until removed.”15 Thus, this ensures that the files cannot be modified or deleted.

          2            67.        Plaintiff’s “legal hold” feature is currently set for three years. Therefore, the
          3 PCAPs cannot be modified or deleted for three years from the date and time the PCAP was first

          4 streamed onto the Amazon s3 cloud.

          5            68.        To be clear, no PCAP data is stored locally on the Capture Card. Rather, the
          6 PCAP data is streamed in real time and stored directly onto Amazon S3.

          7            69.        The Capture Card is synchronized with a time server using the Global
          8 Positioning System (GPS).              This ensures that the dates and times within the PCAPs are
          9 accurate. Each recorded transaction is recorded in milliseconds (thousandths of a second).

        10             70.        The independent physical server housing the Capture Card and PCAP Recorder
        11 is also located at a professional data center in Florida.

        12                                                      The PCAP Stamper
        13             71.        The fourth component of VXN is the PCAP Stamper software.
        14             72.        Every 24 hours the PCAP Stamper 16 sends an index of every PCAP file VXN has
        15 ever recorded within the last 24 hours to a 3rd party provider called DigiStamp, Inc.17

        16 DigiStamp, Inc. then signs the index with a qualified timestamp. This ensures that the PCAPs

        17 existed on the date and time listed in the timestamp, and that it has not been modified as of the

        18 date and time listed in the timestamp.

        19             73.        The PCAP Stamper is located on Amazon EC2.
        20                                                      The PCAP Analyzer
        21

        22             15   See https://docs.aws.amazon.com/AmazonS3/latest/dev/object-lock-overview.html#object-lock-legal-
              holds
        23              16 Though we termed this software the “PCAP Stamper,” this term is not descriptive since it is DigiStamp,
              Inc. that actually signs the PCAP index with a qualified timestamp.
        24              17 DigiStamp, Inc. provides “tools to prove the authenticity and integrity of electronic records. By the end
              of 2003, DigiStamp had created more than 1 million timestamps for customers. Not a single DigiStamp timestamp
        25    has ever been successfully challenged. In 2005, [DigiStamp] commissioned and completed an external audit so that
              [its] timestamp meets the highest standards of strong legal evidence for authenticating computer data.” Further
        26    “state and federal agencies, as well as foreign governments, have sought [DigiStamp’s] advice and our products.
              From the Supreme Court of Ohio to the Department of Defense to the federal governments of Mexico and
        27    Australia, [DigiStamp] [is] recognized as reliable experts who offer sound thinking as well as a fine product.” See
              https://www.digistamp.com/about-us/aboutus
        28                                                             11

              Declaration of David Williamson in Support of Plaintiff’s Motion for Leave to Serve Subpoena Prior to a
                                                     Rule 26(f) Conference
DocuSign Envelope ID: 00C0C49B-EB55-4230-954F-56CA532EA6F6
          Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.71 Page 14 of 32



          1            74.    The fifth component of VXN is the PCAP Analyzer. The PCAP Analyzer is
          2 software that: (a) retrieves stored PCAP files from Amazon S3; (b) extracts infringing

          3 transaction data from each PCAP; (c) verifies that each retrieved data piece is a part of the

          4 .torrent related file (and therefore distributing Plaintiff’s copyrighted content) by using

          5 cryptographic hashes; and (d) organizes and summarizes the extracted infringing transaction

          6 data in a tabular format.

          7            75.    Each line item within the PCAP Analyzer’s tabular output always references an
          8 existing PCAP file. In other words, there is a PCAP recording for every infringing transaction
          9 listed in the PCAP Analyzer’s tabular output. Thus, Plaintiff is always able to provide the

        10 original recording (the PCAPs) for each transaction listed in the tabular output. The tabular

        11 format is merely a summary of the PCAP data and is created for better human readability.

        12             76.    The PCAP Analyzer is connected to Maxmind® GeoIP2 Precision Services
        13 geolocation database. 18

        14             77.    Maxmind is “an industry-leading provider of IP intelligence and online fraud
        15 detection tools.”19 “Over 5,000 companies use GeoIP data to locate their Internet visitors and

        16 show them relevant content and ads, perform analytics, enforce digital rights, and efficiently

        17 route Internet traffic.”20 Maxmind is not “software” or technology, but instead it is a database.

        18 Maxmind compiles information it receives from Internet Service Providers (ISPs) containing

        19 the city and state locations of the users of the ISPs and their respective IP addresses. Maxmind

        20 maintains and updates this list weekly and sells access to it.

        21             78.    VXN connects with the Maxmind database to determine both the Internet
        22 Service Provider that assigned a particular IP address as well as the city and state the IP Address

        23 traces to. The PCAP Analyzer adds this information to the tabular output.

        24             79.    The PCAP Analyzer runs continuously in real-time.
        25             80.    The PCAP Analyzer software is located on Amazon EC2.
        26
                      18 See https://www.maxmind.com/en/geoip2-precision-services
        27            19 See https://www.maxmind.com/en/company
                      20 Id.
        28                                                        12

              Declaration of David Williamson in Support of Plaintiff’s Motion for Leave to Serve Subpoena Prior to a
                                                     Rule 26(f) Conference
DocuSign Envelope ID: 00C0C49B-EB55-4230-954F-56CA532EA6F6
          Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.72 Page 15 of 32



          1            81.    The PCAP Analyzer fulfills the same basic function as the well-known software
          2 called Wireshark and follows the same standards.

          3           PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the
          4 laws of the United States of America that the foregoing is true and correct.

          5           Executed this 14th day of August, 2020.
          6                                                  By:_____________________________
          7                                                          DAVID WILLIAMSON
          8
          9

        10

        11

        12

        13

        14

        15

        16

        17

        18

        19

        20

        21

        22

        23

        24

        25

        26
        27

        28                                                     13

              Declaration of David Williamson in Support of Plaintiff’s Motion for Leave to Serve Subpoena Prior to a
                                                     Rule 26(f) Conference
Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.73 Page 16 of 32




                            EXHIBIT B
 Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.74 Page 17 of 32



 1 Lincoln D. Bandlow, Esq. (CA #170449)
   lincoln@bandlowlaw.com
 2 Law Offices of Lincoln Bandlow, P.C.
   1801 Century Park East, Suite 2400
 3
   Los Angeles, CA 90067
 4 Phone: (310) 556-9680
   Fax: (310) 861-5550
 5
   Attorney for Plaintiff
 6 Strike 3 Holdings, LLC

 7

 8
                              UNITED STATES DISTRICT COURT
 9
                           SOUTHERN DISTRICT OF CALIFORNIA
10

11 STRIKE 3 HOLDINGS, LLC,                             Case Number: 3:20-cv-02314-GPC-KSC
12                       Plaintiff,                    DECLARATION OF PATRICK PAIGE IN
                                                       SUPPORT OF PLAINTIFF’S EX-PARTE
13 vs.                                                 APPLICATION FOR LEAVE TO SERVE
                                                       A THIRD-PARTY SUBPOENA PRIOR TO
14 JOHN DOE subscriber assigned IP address             A RULE 26(f) CONFERENCE
   104.6.138.154,
15
                     Defendant.
16

17

18

19

20                           [Remainder of page intentionally left blank]
21

22

23

24

25

26

27
                                                   i
28
               Declaration of Patrick Paige in Support of Plaintiff’s Ex-Parte Application for
                         Leave to Serve Subpoena Prior to a Rule 26(f) Conference
                                                                         Case No. 3:20-cv-02314-GPC-KSC
                                                EXHIBIT B
 Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.75 Page 18 of 32



 1     DECLARATION OF PATRICK PAIGE IN SUPPORT OF PLAINTIFF’S
 2   MOTION FOR LEAVE TO TAKE DISCOVERY PRIOR TO A RULE 26(f)
 3                                                CONFERENCE
 4 I, Patrick Paige, do hereby state and declare as follows:

 5           1.       My name is Patrick Paige. I am over the age of 18 and I am
 6 otherwise competent to make this declaration.

 7           2.       This declaration is based on my personal knowledge and, if called
 8 upon to do so, I will testify that the facts stated herein are true and accurate.

 9           3.       I am a Managing Member at Computer Forensics, LLC a Florida
10 based expert computer forensics company.

11           4.       For approximately 20 years, I have worked in the computer forensics
12 industry.

13           5.       During this time, I have conducted forensic computer examinations
14 for:

15                    a. Broward County Sheriff’s Office (BSO);
16                    b. Federal Bureau of Investigation (FBI);
17                    c. U.S. Customs and Border Protection (CBP);
18                    d. Florida Department of Law Enforcement (FDLE);
19                    e. U.S. Secret Service;
20                    f. Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF); and
21                    g. Various municipalities in the jurisdiction of Palm Beach County.
22           6.       I have taught over 375 hours of courses in computer forensics
23 ranging from beginner to advanced levels.

24           7.       I have had students in my courses from various government
25 branches, including: (a) sheriff’s offices; (b) agents from the Federal Bureau of

26 Investigation; (c) agents from the Bureau of Alcohol, Tobacco, Firearms and

27

28                                                            1

      Declaration of Patrick Paige in Support of Plaintiff’s Motion for Leave to Serve a Third Party Subpoena Prior to a
                                                    Rule 26(f) Conference
     BD28-2-RW-LB
 Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.76 Page 19 of 32



 1 Explosives; (d) agents from the Central Intelligence Agency, and (e) individuals

 2 from other branches of government and the private sector.

 3           8.       I have been called to testify as a fact and expert witness on numerous
 4 occasions in the field of computer forensics in both trial-level and appellate

 5 proceedings before state, federal, and military courts in California, Florida,

 6 Indiana, New Jersey, New York, and Pennsylvania.

 7           9.       No court has ever refused to accept my testimony on the basis that I
 8 was not an expert in computer forensics.

 9           10.      I have worked with a program called Wireshark since 2004.1 I first
10 began using this software at the Palm Beach County Sheriff’s Office within the

11 Computer Crimes Unit. In that role, I used Wireshark to conduct online

12 investigations where individuals transmitted contraband images to me during

13 online chat sessions. In private practice, I have also used Wireshark to monitor

14 network traffic while investigating network intrusion cases. Later in my career I

15 also used this software to examine PCAPs associated with BitTorrent transactions.

16           11.      In 2019, I obtained my certification as a Wireshark Certified Network
17 Analyst.

18           12.      I was retained by Strike 3 Holdings, LLC (“Strike 3”) to individually
19 analyze and retain forensic evidence captured by its infringement detection

20 system.

21           13.      In this case, Plaintiff claims that its infringement detection system,
22 VXN Scan, recorded numerous BitTorrent computer transactions between the

23 system and IP address 104.6.138.154 in the form of PCAPs.

24

25
             1
                 Initially, Wireshark was named “Ethereal” when it was released in 1998. However, it
26

27 was renamed “Wireshark” in 2006.

28                                                            2

      Declaration of Patrick Paige in Support of Plaintiff’s Motion for Leave to Serve a Third Party Subpoena Prior to a
                                                    Rule 26(f) Conference
     BD28-2-RW-LB
 Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.77 Page 20 of 32



 1           14.      PCAP stands for “Packet Capture.” A PCAP is a computer file
 2 containing captured or recorded data transmitted between network devices. In

 3 short, it is a recording of network traffic.

 4           15.      Here, the PCAPs would evidence particular IP addresses connecting
 5 to VXN Scan and sending pieces of a computer file (which allegedly contains a

 6 piece of an infringing copy of Plaintiff’s works) to VXN Scan. The PCAP

 7 contains a record data concerning that transaction, including, but not limited to,

 8 the Internet Protocol (IP) Addresses used in the network transaction, the date and

 9 time of the network transaction, the port number used to accomplish each network

10 transaction, and the Info Hash value that the VXN Scan used as the subject of its

11 request for data.

12           16.      For this case, I received a PCAP from Strike 3 containing
13 information relating to a transaction initiated on 09/15/2020 20:56:37 UTC

14 involving IP address 104.6.138.154.

15           17.      I used Wireshark to view the contents of this PCAP.
16           18.      In reviewing the PCAP, I was able to confirm that the PCAP is
17 evidence of a recorded transaction with IP address 104.6.138.154 initiated at

18 09/15/2020 20:56:37 UTC. More specifically, the PCAP evidence shows that

19 within that transaction, IP address 104.6.138.154 uploaded a piece or pieces of a

20 file corresponding to hash value

21 979CD4F798E6D0277F211C43B2DEAD821781AAB7 to VXN Scan.

22           19.      To be clear, the hash value
23 979CD4F798E6D0277F211C43B2DEAD821781AAB7 recorded in the PCAP is

24 the “Info Hash.” The “Info Hash” is not the hash value of the movie file itself.

25           20.      A hash value is an alpha-numeric value of a fixed length that
26 uniquely identifies data. Hash values are not arbitrarily assigned to data merely

27 for identification purposes, but rather are the product of a cryptographic algorithm

28                                                            3

      Declaration of Patrick Paige in Support of Plaintiff’s Motion for Leave to Serve a Third Party Subpoena Prior to a
                                                    Rule 26(f) Conference
     BD28-2-RW-LB
 Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.78 Page 21 of 32



 1 applied to the data itself. As such, while two identical sets of data will produce

 2 the same cryptographic hash value, any change to the underlying data – no matter

 3 how small – will change the cryptographic hash value that correlates to it.

 4           21.      The entire file being shared has a hash value (i.e., the “File Hash”).
 5 Files are shared on BitTorrent by breaking them down into smaller pieces. To

 6 find and re-assemble these pieces, i.e., to download the file using BitTorrent, a

 7 user must obtain a “.torrent” file for the specific file that has been broken down

 8 into pieces. Each “.torrent” file contains important metadata with respect to the

 9 pieces of the file. When this data is put into the cryptographic algorithm, it results

10 in a hash value called the “Info Hash.”

11           22.      The “Info Hash” is the data that the BitTorrent protocol uses to
12 identify and locate the other pieces of the desired file (in this case, the desired file

13 is the respective file for the infringing motion pictures that are the subject of this

14 action) across the BitTorrent network.

15           23.      Using the Info Hash, a user may collect all the pieces of the desired
16 file (either from the user that shared the original piece or from other members of

17 the BitTorrent swarm), to create the playable movie file.

18           24.      Once the user has the playable movie file, the user could: (1)
19 calculate the movie’s File Hash value, and (2) visually compare the playable

20 movie file to its copyrighted work to determine whether they are identical,

21 strikingly similar, or substantially similar.

22           25.      Any change in the underlying movie file (including converting the
23 file to a different format, changing the resolution, etc.) will result in the algorithm

24 calculating a different File Hash value. As such, unless two files have the exact

25 same File Hash, visual comparison of two files is the best method by which to

26 determine whether one movie file is a visual copy of another.

27

28                                                            4

      Declaration of Patrick Paige in Support of Plaintiff’s Motion for Leave to Serve a Third Party Subpoena Prior to a
                                                    Rule 26(f) Conference
     BD28-2-RW-LB
Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.79 Page 22 of 32
Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.80 Page 23 of 32




                            EXHIBIT C
 Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.81 Page 24 of 32



 1 Lincoln D. Bandlow, Esq. (CA #170449)
   lincoln@bandlowlaw.com
 2 Law Offices of Lincoln Bandlow, P.C.
   1801 Century Park East, Suite 2400
 3
   Los Angeles, CA 90067
 4 Phone: (310) 556-9680
   Fax: (310) 861-5550
 5
   Attorney for Plaintiff
 6 Strike 3 Holdings, LLC

 7

 8
                             UNITED STATES DISTRICT COURT
 9
                           SOUTHERN DISTRICT OF CALIFORNIA
10

11 STRIKE 3 HOLDINGS, LLC,                             Case Number: 3:20-cv-02314-GPC-KSC
12                      Plaintiff,                     DECLARATION OF SUSAN B. STALZER
                                                       IN SUPPORT OF PLAINTIFF’S EX-
13 vs.                                                 PARTE APPLICATION FOR LEAVE TO
                                                       SERVE A THIRD-PARTY SUBPOENA
14 JOHN DOE subscriber assigned IP address             PRIOR TO A RULE 26(f) CONFERENCE
   104.6.138.154,
15
                     Defendant.
16

17

18

19

20                          [Remainder of page intentionally left blank]
21

22

23

24

25

26

27
                                                   i
28
               Declaration of Susan B. Stalzer in Support of Plaintiff’s Ex-Parte Application
                      for Leave to Serve Subpoena Prior to a Rule 26(f) Conference
                                                                         Case No. 3:20-cv-02314-GPC-KSC
                                                EXHIBIT C
Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.82 Page 25 of 32




 1           DECLARATION OF SUSAN B. STALZER IN SUPPORT OF PLAINTIFF'S
         MOTION FOR LEAVE TO SERVE A THIRD PARTY SUBPOENA PRIOR TO A
 2                          RULE 26(f) CONFERENCE
 3           I, Susan B. Stalzer, do hereby state and declare as follows:

 4           1.      My name is Susan B. Stalzer.         I am over the age of 18 and am otherwise

 5 competent to make this declaration.

 6           2.      This declaration is based on my personal knowledge and, if called upon to do so,

 7 I will testify that the facts stated herein are true and accurate.
 8           3.      I work for Strike 3 Holdings, LLC ("Strike 3") and review the content of their

 9 motion pictures.
             4.      I hold a Bachelor's degree and Master's degree m English from Oakland

11 University.
12           5.      I have a long history of working in the fine arts, with an emphasis on writing,

13 including having served as an adjunct professor of composition and literature.
14           6.      I am familiar with Strike 3's plight with online piracy and its determination to

15 protect its copyrights.

16           7.      I was tasked by Strike 3 with verifying that each infringing file identified as a

17 motion picture owned by Strike 3 on torrent websites was in fact, either identical, strikingly
18 similar or substantially similar to a motion picture in which Strike 3 owns a copyright.
19           8.      Strike 3 provided me with digital media files to compare with Strike 3's

20 copyrighted works.
21           9.      Based on the Declaration of David Williamson, I understand that Strike 3

22 obtained each digital media file using the VXN Scan 's Torrent Collector and Downloader
23 components.

24           10.     I viewed each of the digital media files side-by-side with Strike 3's motion

25 pictures, as published on the Blacked, Blacked Raw, Tushy, Tushy Raw, and/or Vixen websites
26 and enumerated on Exhibit A by their United States Copyright Office identification numbers.

27
28
        Declaration of Susan B. Stalzer in Support of Plaintiff's Motion for Leave to Serve a Third Party
                                  Subpoena Prior to a Rule 26(f) Conference
     BD28-2-RW-LB-CASD
Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.83 Page 26 of 32




 1          11.     Each digital media file is a copy of one of Strike 3 's motion pictures that is
 2 identical, strikingly similar, or substantially similar to the original work identified by their
 3 United States Copyright Office identification numbers on Exhibit A to the Complaint.
 4          12.     Additionally, I used American Registry for Internet Numbers ("ARIN") to
 5 confirm that the ISP AT&T U-verse did own Defendant's IP address at the time of the
 6 infringements, and hence has the relevant information to identify Doe Defendant.
 7
 8                                            DECLARATION
 9          PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the
10 laws of the United States of America that the foregoing is true and correct.
11        Executed on this � day of �� , 202                                iJ.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
                                                        2
28
        Declaration of Susan B. Stalzer in Support of Plaintiff's Motion for Leave to Serve a Third Party
                                  Subpoena Prior to a Rule 26(±) Conference
     BD28-2-RW-LB-CASD
Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.84 Page 27 of 32




                            EXHIBIT D
 Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.85 Page 28 of 32



 1

 2 Lincoln D. Bandlow, Esq. (CA #170449)
   lincoln@bandlowlaw.com
 3 Law Offices of Lincoln Bandlow, P.C.
   1801 Century Park East, Suite 2400
 4 Los Angeles, CA 90067
   Phone: (310) 556-9680
 5 Fax: (310) 861-5550

 6
   Attorney for Plaintiff
 7 Strike 3 Holdings, LLC

 8
 9

10                           UNITED STATES DISTRICT COURT

11                          SOUTHERN DISTRICT OF CALIFORNIA

12
     STRIKE 3 HOLDINGS, LLC,                        Case No.: 3:20-cv-02314-GPC-KSC
13
                        Plaintiff,                  DECLARATION OF EMILIE
14                                                  KENNEDY IN SUPPORT OF
     vs.                                            PLAINTIFF’S EX-PARTE
15                                                  APPLICATION FOR LEAVE TO
   JOHN DOE subscriber assigned IP address          SERVE A THIRD-PARTY SUBPOENA
16 104.6.138.154,                                   PRIOR TO A RULES 26(f)
                                                    CONFERENCE
17                      Defendant.

18

19
                             [Remainder of page intentionally left blank]
20

21

22

23

24

25

26
27

28


                                                     i
                                                              Case No.: 3:20-cv-02314-GPC-KSC
 Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.86 Page 29 of 32



          DECLARATION OF EMILIE KENNEDY IN SUPPORT OF PLAINTIFF’S
 1     OF PLAINTIFF’S EX-PARTE APPLICATION FOR LEAVE TO SERVE A THIRD-
              PARTY SUBPOENA PRIOR TO A RULE 26(F) CONFERENCE
 2

 3          I, Emilie Kennedy, do hereby state and declare as follows:
 4          1.      My name is Emilie Kennedy. I am over the age of 18 and am otherwise
 5 competent to make this declaration.

 6          2.      This declaration is based on my personal knowledge and, if called upon to do so,
 7 I will testify that the facts stated herein are true and accurate.

 8          3.      I work for Plaintiff Strike 3 Holdings, LLC (“Strike 3”) as its in-house General
 9 Counsel.

10          4.      After Strike 3 received infringement data from VXN Scan identifying IP address
11 104.6.138.154 as infringing its works, the IP address was automatically inputted into

12 Maxmind’s Geolocation Database at https://www.maxmind.com/en/geoip-demo (the “Maxmind

13 Database”), on January 17, 2019 at 06:06:39UTC.

14          5.      Based on this search of the Maxmind Database, Maxmind determined that the IP
15 address traced to a location in San Diego, California, which is within this Court’s jurisdiction.

16          6.      Prior to filing its Complaint, Strike 3 again inputted IP address 104.6.138.154
17 into the Maxmind Database and confirmed that IP address 104.6.138.154 continued to trace to

18 this District.

19          7.      Finally, before filing this declaration, Strike 3 inputted IP address 104.6.138.154
20 again into the Maxmind Database and confirmed that it traces to San Diego, California. See

21 Exhibit 1.

22

23

24

25

26
27
                                                          1
28
                 Declaration of Emilie Kennedy in Support of Plaintiff’s Ex-Parte Application for
                     Leave to Serve a Third-Party Subpoena Prior to a Rule 26(f) Conference
                                                                          Case No. 3:20-cv-02314-GPC-KSC
                                                  EXHIBIT D
 Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.87 Page 30 of 32



 1          8.      Strike 3 has no interest in filing complaints in matters in which the offending IP
 2 address cannot be reliably geolocated to within a District Court’s jurisdiction, and Strike 3 files

 3 separate cases across the various Federal District Courts of California as well as across the

 4 country.

 5                                          DECLARATION
 6          PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the
 7 laws of the United States of America that the foregoing is true and correct.

 8          Executed on this 3rd day of December, 2020.
 9                                                        EMILIE KENNEDY
10                                                        By:______________________
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27
                                                         2
28
                 Declaration of Emilie Kennedy in Support of Plaintiff’s Ex-Parte Application for
                     Leave to Serve a Third-Party Subpoena Prior to a Rule 26(f) Conference
                                                                          Case No. 3:20-cv-02314-GPC-KSC
                                                  EXHIBIT D
Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.88 Page 31 of 32




                            EXHIBIT 1
Case 3:20-cv-02314-GPC-KSC Document 4-2 Filed 12/03/20 PageID.89 Page 32 of 32
